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                         UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA


MARK A. JONES,                               No. 2:17-cv-1422 KJM AC P
           Plaintiff,
    v.                                       ORDER & WRIT OF HABEAS CORPUS
                                             AD TESTIFICANDUM
SENOGOR, et al.
           Defendants.
                                     /

         Mark A. Jones, inmate no. C-12452, a necessary and material participant in proceedings
in this case on August 8, 2024, is confined in California State Prison, Los Angeles County, in the
custody of the Warden. In order to secure this inmate’s attendance it is necessary that a Writ of
Habeas Corpus ad Testificandum issue commanding the custodian to produce the inmate before
the Honorable Allison Claire, to appear by Zoom video conference from his place of
confinement, on August 8, 2024, at 9:00 a.m.

                              Accordingly, IT IS ORDERED that:

   1. A Writ of Habeas Corpus ad Testificandum issue, under the seal of this court,
      commanding the custodian to produce the inmate named above, by Zoom video
      conference, to participate in court proceedings at the time and place above, until
      completion or as ordered by the court. Zoom video conference connection information
      will be supplied via separate email;

   2. The custodian is ordered to notify the court of any change in custody of this inmate and is
      ordered to provide the new custodian with a copy of this writ;

   3. The Clerk of the Court is directed to serve a copy of this order via fax on the Litigation
      Office at California State Prison, Los Angeles County at (661)729-6994 or via email; and

   4. Any difficulties connecting to the Zoom video conference shall immediately be reported
      to Jonathan Anderson, Courtroom Deputy, at janderson@caed.uscourts.gov.

                   WRIT OF HABEAS CORPUS AD TESTIFICANDUM

To: Warden, California State Prison, Los Angeles County, P.O. Box 8457, Lancaster,
California 93539:

WE COMMAND you to produce the inmate named above to testify at the time and place above,
by Zoom video conference, until completion of the proceedings or as ordered by the court.

FURTHER, you have been ordered to notify the court of any change in custody of the inmate
and have been ordered to provide the new custodian with a copy of this writ.

DATED: June 20, 2024
